IN THE UNITED STATES DISTRICT COURT § § L §
FOR THE EASTERN I)ISTRICT 0F TENNESSEE, '

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JOHN H' COXWELL’ SR~’ ) L_r.s. mer:lcr sam
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Plaintiff, )
) Civil Ac¢ion No. S`\’-----»-DEP~T-'CLERK
vs. ) .
) JURY DEMAND l ~ 001 Q,L) 93 70&/'
THE LINCOLN NATIONAL LIFE ) ~ v 1
INSURANCE coMPANY, ) C@MI we
)
Defendant, )

COMPLAINT FOR DECLARATORY JUDGMENT
AND FOR BENEFITS

Comes now the Plaintiff, John H. Coxwell, Sr., (“Plaintiff” or “Coxwell”) by and through
counsel, and brings this Complaint against the Defendant, The Lincoln National Life Insurance
Company (“Defendant” or “Lincoln”), and for his cause of action would show as follows:

Parties

l. The Plaintiff, John H. Coxwell, Sr., is an individual residing at 2804 Goldpoint
Circle South, Hixson, Hamilton County, Tennessee 37343.

2. Defendant, The Lincoln National Life Insurance Company (hereinafter referred to
as “Lincoln”), is an Indiana corporation doing business in the State of Tennessee and can be
served through the Commissioner of the Tennessee Department of Commerce and Insurance at
500 J. Robertson Parkway, 5th Floor, Nashville, TN 37243. The Defendant is also amenable to
service of process through the long-arm statutes of the State of Tennessee and through The
Prentice-Hall Corporation System, Inc., Suite 500 251 East Ohio Street, Indianapolis, Indiana

46204.

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Jurisdiction and Venue

3. This Court has jurisdiction pursuant to 28 USC §1332 because there is diversity of
citizenship and the amount of the claim is over Seventy-Five Thousand Dollars ($75,000.00).

4. This Court also has jurisdiction pursuant to The Employee Retirement Income
Security Act of 1974 (“ERISA”), 29 U.S.C. §] 000-1461 , over which this Court possesses
jurisdiction pursuant to 29 U.S.C. §1132(€)-(/) and 28 U.S.C. §1331.

5. Furthermore, this Court has jurisdiction over the Plaintiff’ s claim for relief in the
form of a declaratory judgment pursuant to 28 U.S.C. §2201.

6. Venue is proper in this district in that the Defendant does business here and the
acts complained of occurred in this State and in this District.

Common Factual Allegations

7. The Plaintiff, John H. Coxwell, Sr., worked with Hazlett, Lewis & Bieter, PLLC,
Certitied Public Accountants and Business Advisors, in Chattanooga, Hamilton County,
Tennessee, when he became disabled on or about April l, 2005, which was also his last day of
full-time work. The last day worked by Plaintiff was April ll, 2005.

8. During the Plaintiff’ s work with Hazlett, Lewis & Bieter, PLLC, he was as an
“owner” or partner with his main duty being to provide professional services as a Certified
Public Accountant. The Plaintiff’ s permanent position on April ll, 2005 was that of Audit
Member (partner).

9. On October l, 1996, Hazlett, Lewis & Bieter, PLLC obtained a group policy for
long-term disability with The Guaranty Life Insurance Company, being policy number
GL000010012889 (“Policy”), a copy of which is attached hereto as Exhibit A. Effective August

l, 2000, The Guaranty Life Insurance Company merged with Jefferson Pilot Financial Insurance

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Company. Thereafter, Jefferson Pilot merged into the Defendant, The Lincoln National Life
Insurance Company, which is the insuring entity on the date of filing this Complaint.

10. At all times material to this action, the Plaintiff was a participant in the long-term
disability policy originally with The Guaranty Life Insurance Company and thereafter with the
Jefferson Pilot Financial Insurance Company and thereafter the Defendant, The Lincoln National
Life Insurance Company.

ll. The Plaintiff timely filed a Notice of Claim and a Proof of Claim within the
applicable time limits set forth in the policy contract of insurance for long-term disability
benefits. Also, the Defendant has waived, in writing, any issues of eligibility or late filing of a
Proof of Claim or Notice of Claim due to extenuating circumstances set forth in documents
provided by the Defendant,

12. The referenced long-term disability Policy provided a benefit for long-term
disability based on earnings.

13. Pursuant to a letter dated April 20, 2007, the Plaintiff’ s claim for long-term
disability benefits was denied. Thereafter, on January 16, 2008, after an appeal of the
Defendant’s decision, the original denial of the Plaintiff’s claim was upheld. Subsequently,
pursuant to a letter dated August 8, 2008, the second appeal of the long-term disability claim of
the Plaintiff resulted in the Defendant granting partial disability benefits to the Plaintiff for the
period of January l, 2004 to June 30, 2006, but denying any other long-term disability benefits to
the Plaintiff.

14. According to its August 8, 2008 letter, the Defendant disallowed total disability
based on its initial denial of the claim and upon its appeal denial dated January 16, 2008 has said

that the Plaintiff is not totally disabled due to an injury or sickness.

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15. The August 8, 2008l letter further states that the Defendant will consider a
further, third, appeal if the Plaintiff chooses to file one. A third appeal was submitted to the
Defendant on August 21, 2008.

l6. As part of the third appeal, the Defendant has required the Plaintiff to submit to
multiple Independent Medical Examinations (“IME’s”) and provide income information The
Plaintiff has complied with all of the Defendant’s demands

l7. On August 18, 2009, the Plaintiff contacted the Defendant regarding the status of
his claim and was advised that a decision would be made within two (2) weeks, on or before
September l, 2009. It was not until October 2, 2009 that the Defendant sent its fourth denial of
the Plaintiff s claim, this time not only denying long-term disability benefits but stating that the
August 8, 2008 award of partial disability benefits was an error.

18. On November 3, 2009, the Plaintiff mailed his fourth and “final administrative”
appeal, made pursuant to the terms of the Defendant’s October 2, 2009 letter.

19. Prior to sending his fourth appeal, the Plaintiff requested information from the
Defendant as to the numbers and levels of appeal. This information is not included in the Policy
and has not been provided by the Defendant. The Plaintiff has no information as to whether this
fourth appeal is, in fact, the final appeal after which he will have exhausted his administrative
remedies

20. As a result of the medical problems that the Plaintiff has, the Plaintiff is qualified
for total disability benefits under the terms of the Hazlett, Lewis & Bieter, PLLC Class I plan.

2l. Despite Plaintiff’s entitlement to disability benefits under the terms of the Hazlett,
Lewis & Bieter, PLLC plan, Defendant, Lincoln, improperly denied his benefits contrary to the

provisions of the Policy and/or the Plaintiffs rights under ERISA.

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22. The terms of the Policy require the Plaintiff to bring suit 3 years after the written
proof of claim deadline. The Plaintiff is required to bring suit at this time, even though his fourth
appeal remains pending.

23. By improperly and excessively delaying its response to the Plaintiff s third appeal
and not notifying the Plaintiff of the levels and numbers of appeal available to him, the
Defendant has waived any arguments or defenses arising out of or related to the timing of
Plaintiff’ s suit.

24. The Defendant, by email dated September 18, 2008, waived all defenses related to
the Statute of Limitations and/or the limitations periods described in the Policy.

First Claim for Injunctive and Declaratory

25. The Plaintiff incorporates Paragraphs l - 24 above as if fully set forth herein.

26. The disability coverage issued to the Plaintiff was pursuant to the Policy
originally with The Guaranty Life Insurance Company to provide disability benefits for Partners
(Class l) and employees (Class 2). The benefits are provided on a fully-insured basis There are
two (2) separate groups under the Policy with one being owners/partners covered and the other
being employees covered.

27. Pursuant to ERISA §4(a), 28 U.S.C. §]003(a), only those plans within the
meaning of ERISA §3(3), 29 U.S.C. §] 002(3), “Employee Benefit Plans,” are covered. Pursuant
to ERISA Regulation §25102.3-3(b), 29 C.F.R. §25]02.3-3(b), a plan without employees does
not constitute an employee benefit plan with coverage under ERISA. Pursuant to ERISA

Regulation §2510.3-3(0), 29 C.F.R. §25]02.3-3(c), a partner is not deemed to be an employee.

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28. It is the position of the Plaintiff that the coverage provided to the Plaintiff for
long-term disability benefits is a contractual obligation pursuant to the terms of the Policy and
not an ERISA obligation.

29. In the alternative, the Plaintiff alleges that, if it is determined that he is covered as
an employee, then he is covered as an ERISA employee under Hazlett, Lewis & Bieter, PLLC’s
welfare benefit plan.

30 The Parties have not been able to agree as to the rights of the Plaintiff pursuant to
the terms of the Policy.

31. The Plaintiff requests a declaration of his rights as to whether this is an ERISA
claim or a contractual claim for benefits under the long-term disability Policy provided to him
through Hazlett, Lewis & Bieter, PLLC and now the responsibility of the Defendant, The
Lincoln National Life Insurance Company.

Second Claim for Relief - State Law Breach of Contract

32. The Plaintiff incorporates Paragraphs l - 31 above as if fiilly set forth herein.

33. The Defendant has breached its contractual obligations owed to the insured,
Hazlett, Lewis & Bieter, PLLC, and the insured’s beneficiary, the Plaintiff and the Defendant is
liable to the Plaintiff for the designated benefits payable under the long-term disability policy
previously mentioned.

34. The Defendant’s reidsal to pay the benefits in face of the evidence available to the
Defendant has been in bad faith and in violation of Tennessee law.

35. The Plaintiff further alleges that he is entitled to an additional twenty-five percent

(25%) bad faith penalty pursuant to ,Tenn. Code Ann. §56- 7-105.

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36. The Plaintiff alleges that pursuant to the breach of contract, the Plaintiff is entitled
to benefits in excess of One Million Dollars ($1,000,000.00) plus a penalty in excess of Two
Hundred Fifty Thousand Dollars ($250,000.00).

Third Claim for Relief - Breach of Contract under ERISA

37. The Plaintiff incorporates Paragraphs l - 36 above as if fully set forth herein.

38. lf` it is determined that the Plaintiff, Plaintiff is a participant of the Hazlett, Lewis
& Bieter, PLLC plan, pursuant to 29 U.S.C. §1132(a)(1)(B), the Plaintiff is entitled to judicial
determination and enforcement of his benefits

39. The Defendant improperly denied the benefits to which the Plaintiff is entitled
under the terms of the Hazlett, Lewis & Bieter, PLLC disability plan, in contradiction of the plan
and ERISA and, after appeal and additional review, the Defendant refuses to respond to the
Plaintiff regarding any additional or future benefits

40. The Defendants denial of Plaintiff’s benefits and failure to respond to the Plaintiff
regarding the results of ongoing review are wrongful breaches of contract and violations of
ERISA.

41. The Plaintiff is entitled to a judgment for damages, including, but not limited to,
past-due contractual benefits, future benefits and attorneys fees pursuant to 29 US.C.
§1132(g)(1), costs incurred in bringing this action, which total amount is in excess of One
Million Dollars ($1,000,000.00), plus any other relief as the Court deems equitable, just and
proper.

WHEREFORE, Plaintiff prays for relief as follows:

a. That process issue and be served upon the Defendant requiring it to answer

Complaint within the time allowed by law;

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b. That a Judgrnent be entered declaring the Plaintiff`s rights pursuant to the long-
term disability Policy in an amount no less than One Million Dollars ($1,000,000.00);

c. That Defendant be required to pay the long-term disability benefits to the Plaintiff
to which he is entitled;

d. That the Plaintiff be awarded pre-judgment interest;

e. That the Plaintiff be awarded attorneys fees and expenses as contemplated by
ERISA and as contemplated by the contractual provisions long-term disability Policy;

f. That the Plaintiff be awarded an additional twenty-five percent (25%) bad faith
penalty of the accrued benefits because of the Defendant’s bad faith in this case;

g. That the Plaintiff be awarded such other and further general relief to which he
may be entitled;

h. That the Plaintiff be granted a jury trial of this case if the case is determined to not
be an ERISA claim.

Respectfully submitted,

, BEARD, SCHULMAN & JACOWAY, P.C.

  

Mard A. scimlmaH, BPR #000990

Susie Lodico, BPR #023 754

AttorneysforPlainti/§f

537 Market Street, Suite 202

Chattanooga, TN 37402

Telephone: (423) 756-7117

Facsimile: (423) 267-5032
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